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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

 ALEXIS SWEARINGEN,

              Plaintiff,                               Case No. 2:20-cv-02630-DDC-TJJ

 v.

 BOARD OF COUNTY
 COMMISSIONERS OF THE COUNTY
 OF LINN COUNTY, KS, et al.,,

              Defendants.

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Alexis Swearingen and Defendants Board of County Commissioners of Linn

County, Kansas (“BOCC”) and Kevin J. Friend jointly stipulate to the dismissal of all claims

made against Defendants BOCC and Friend with prejudice, with each party to bear its own costs

and attorney’s fees.

                                            Prepared and Respectfully submitted by,

                                            Case Linden Kurtz Buck P.C.



                                            s/Cory R. Buck
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                                             Agreed to:

                                             s/ Christopher S. Dove
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                                     Certificate of Service

       I hereby certify that on April 4, 2023 a true and correct copy of the above and foregoing
was served by electronic filing with the Clerk of the Court in the CM/ECF system, which will
automatically send email notification of such filing to the following counsel of record:

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                                                    s/Cory R. Buck
                                                    Cory R. Buck




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